 

The Voyles Law Firm, P.C.

November 18, 2019

Clerk of Court

U.S. District Court

Middle District of Georgia
475 Mulberry Street

P.O. Box 128

Macon, Georgia 31202-0128

Re: Robert S. Wood vs. City of Warner Robins, Georgia, et al);
U.S. District Court for the Middle District of Georgia;
CAFN: 5:19-cv-00319-TES

Dear Clerk of Court:

I represent Plaintiff Bobby Wood in the above-styled case. Plaintiff's Response to Defendants’
Motion for More Definite Statement and to Partially Dismiss Complaint [ECF No. 15] is currently due on
November 18, 2019. I request, pursuant to Local Rule 6.2, a fourteen (14) day extension of time to file
Plaintiff's Response to Defendants’ Motion for More Definite Statement and to Partially Dismiss
Complaint. The new filing deadline will be December 2, 2019.

Thank you for your assistance in this matter.

Respectfully submitted,

s/ James E. Voyles
James E. Voyles

ce: Sharon P. Morgan
Laura A. Denton

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